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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr40
                                     )   Hon. Trevor McFadden
GEOFFREY SILLS,                      )
      Defendant.                     )
____________________________________)

              DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION
                     TO MOTION TO COMPEL DISCOVERY

       Comes now Defendant Geoffrey Sills, by counsel, and replies to the government’s

response in opposition (“Response” Doc 549) to his motion to compel discovery (Doc 533).

       Defendant does not dispute that “the USMS has discretion regarding housing decisions”

pertaining to pretrial detainees. Response at 3. Defendant is not questioning his transfer to USP

Lewisburg. Rather, he applauds it, having found the conditions of his confinement there

dramatically better than those he suffered at the Northern Neck Regional Jail (“NNRJ”). The

government errs, however, in several respects.

       The government incorrectly states that Defendant’s motion is “based largely upon his

own interview with a local monthly publication… “ Response at 4. In fact, the motion is based

on repeated reports of mistreatment of inmates at NNRJ as substantiated by the Richmond

County Commonwealth’s Attorney who has reportedly refused further to use the facility to house

pretrial detainees prosecuted by her office, and on the inescapable inference of a problem with

the facility as surmised from the wholesale removal of detainees by the Marshal’s Service.

       The government also errs in claiming that undersigned failed to “confer in good faith

with the government prior to filing this motion to compel.” Response at 5. In fact, undersigned

queried by email counsel for the government for illumination of the reason/s for the bulk



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removal from NNRJ by the Marshal’s Service of January 6 th defendants. Undersigned was

referred to the number for the Washington, D.C. Office of the Marshal’s Service.

       Defendant has spent nearly two years in pretrial detention in a facility that appears to

have lost the confidence of the Marshal’s Service. The Presentence Investigation Report reflects

that, while at that facility, he has contracted MRSA – a potentially fatal, chronic condition that

will likely plague him for the rest of his life. The quality of Defendant’s pretrial confinement is

without question “material to the preparation of a defense” which includes sentencing argument.

       Under the circumstances, Defendant is entitled to substantiate the problems with his

pretrial confinement and the government enjoys exclusive custody of the means to do so.

                                                      Respectfully submitted,

                                                      GEOFFREY SILLS
                                                      By Counsel
                                                      _____/s/____________
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                                                      Alexandria, Virginia 22314
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                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on March 3, 2023, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System.
                                                     ____/s/_____________
                                                     John C. Kiyonaga




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